     Case 3:22-cv-00392-ART-CLB Document 23 Filed 06/08/23 Page 1 of 1



1                              UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3                                                 ***

4     MARC ANTHONY EARLEY,                                 Case No. 3:22-CV-00392-ART-CLB
5                                        Plaintiffs,    ORDER RE: VIOLATION OF GENERAL
                                                                 ORDER 2021-5
6            v.
                                                                   [ECF Nos. 17, 19, 22]
7     NEVADA DEPARTMENT OF
      CORRECTIONS, et al.,
8
                                      Defendants.
9
            On October 13, 2021, this Court entered General Order No. 2021-05 (“GO 2021-
10
     05”), setting forth certain requirements and limitations for filings in Pro Se Inmate Non-
11
     Habeas Civil Rights cases. GO 2021-05 § 3(d) expressly states that:
12

13          Parties must not file “notices” or “letters” with the Court unless it is to notify
            the Court of procedural changes such as changes of address or notices of
14          a change in counsel. Parties must not use notices or letters to ask the Court
            to rule on a motion. A request for the Court to rule on something must be
15          filed as a motion. Improperly filed “notices” or “letters” will be stricken from
            the docket.
16
     Id. at 4. On May 22, 2023, Plaintiff filed two documents entitled “Notice of Mediation Not
17
     Done in Good Faith.” (ECF Nos. 17, 19.) Both of these documents were filed in violation
18
     of GO 2021-5 § 3(d). Therefore, these documents, (ECF No. 17, 19), are stricken from
19
     the record.
20
            Despite Plaintiff’s “notices” being filed in violation of GO 2021-5, Defendants
21
     improperly filed a “response” to these documents on June 7, 2023. (ECF No. 22.)
22
     Therefore, this document, (ECF No. 22), is also stricken from the record.
23
            Both parties are reminded that they are required to follow all the Court’s Orders,
24
     the Local Rules for the District of Nevada, and Rules of Civil Procedure in all filings in this
25
     case in the future. Improperly filed documents will be stricken from the record.
26
            IT IS SO ORDERED.
27
                    June 8, 2023
            DATED: ______________.
28

                                                 UNITED STATES MAGISTRATE JUDGE
